                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION

U.S. BANK TRUST COMPANY,             :
NATIONAL ASSOCIATION, AS             :
TRUSTEE FOR VELOCITY                 :
COMMERCIAL CAPITAL                   :
LOAN TRUST 2023-4                    :
c/o Velocity Commercial Capital,     :
LLC                                  :              Property Address:
2945 Townsgate, Suite #110           :              5715 Capitol Drive
Westlake Village, CA 91361,          :              Milwaukee, WI 53216
                                     :
                          Plaintiff, :              Parcel No.:
                                     :              266-0029-000
vs.                                  :
                                     :
MARIA J. WOODRUFF, an                :
individual                           :
           nd
4935 N. 52 Street                    :
Milwaukee, WI 53218,                 :
                                     :
COLUMBIA SAVINGS AND                 :
LOAN ASSOCIATION                     :
c/o Ernest Jones, President and      :
Chief Executive Officer              :
2020 W Fond du Lac Ave.              :
Milwaukee, WI 53205,                 :
                                     :
CITY OF MILWAUKEE,                   :
WISCONSIN                            :
c/o Office of the Mayor              :
City Hall                            :
200 E. Wells Street, Room 201        :
Milwaukee, WI 53202,                 :


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    WISCONSIN ELECTRIC               :
    POWER COMPANY                    :
    c/o Corporate Creations Network, :
    Inc., Registered Agent           :
    301 S. Bedford St.               :
    Ste. 1                           :
    Madison, WI 53703,               :
                                     :
    STATE OF WISCONSIN,              :
    DEPARTMENT OF                    :
    WORKFORCE                        :
    DEVELOPMENT                      :
    c/o Amy Pechacek, Secretary      :
    201 E. Washington Ave            :
    Madison, WI 53707,               :
                                     :
       Mailing Address:              :
       STATE OF WISCONSIN,           :
       DEPARTMENT OF                 :
       WORKFORCE                     :
       DEVELOPMENT                   :
       c/o Amy Pechacek, Secretary   :
       P.O. Box 7946                 :
       Madison, WI 53707             :
                                     :
                         Defendants. :
                                     :

          COMPLAINT ON PROMISSORY NOTE, FOR FORECLOSURE, FOR
            APPOINTMENT OF A RECEIVER, AND FOR OTHER RELIEF

                Plaintiff U.S. Bank Trust Company, National Association, as Trustee for

    Velocity Commercial Capital Loan Trust 2023-4 (the “Plaintiff”), through

    undersigned counsel, states for its Complaint against the above defendants:




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                          PARTIES, JURISDICTION, AND VENUE

                1.   Plaintiff is the duly appointed trustee for the real estate mortgage

    investment conduit trust whose assets include the instruments that are the subject

    of the above-captioned matter. According to the United States Supreme Court,

    when a trustee files a lawsuit in its own name, the citizenship of the trustee is all

    that matters for diversity purposes. Navarro Savings Ass’n v. Lee, 446 U.S. 458

    (1980). The citizenship of a national banking association is determined by the state

    designated in its articles of association as its main office. See U.S. Bank National

    Association v. UBS Real Estate Securities Inc., 205 F.Supp.3d 386, 411 (S.D.N.Y.

    2016); Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 318 (2006). In this matter,

    the Plaintiff is a national banking association formed under the laws of the United

    States of America, specifically the National Bank Act, 12 U.S.C. § 1, et seq.,

    Charter No. 23412. The Plaintiff’s main office, as stated in its articles of

    association, is in Portland, Oregon.       As the citizenship of a national banking

    association is determined by the state designated in its articles of association as its

    main office, the Plaintiff is a citizen of the State of Oregon for the purposes of

    diversity jurisdiction herein.




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                2.   Defendant Maria J. Woodruff, an individual (the “Borrower”) is an

    individual domiciled in the State of Wisconsin.

                3.   Defendant Columbia Savings and Loan Association is a banking

    corporation existing under the laws of the State of Wisconsin with its principal

    place of business located in Milwaukee, Wisconsin.

                4.   Defendant City of Milwaukee, Wisconsin is a municipal corporation

    of the State of Wisconsin.

                5.   Defendant Wisconsin Electric Power Company is a corporation

    existing under the laws of the State of Wisconsin with its principal place of

    business located in Milwaukee, Wisconsin.

                6.   Diversity jurisdiction is proper pursuant to 28 USC § 1332 as the

    Plaintiff and the Borrower are residents of different states and the amount in

    controversy exceeds $75,000.00.

                7.   Venue is proper is this district pursuant to 28 U.S.C. § 1391(b) as both

    the Borrower and the Property (as defined below) reside herein.

                            COUNT ONE – PROMISSORY NOTE

                8.   The Plaintiff restates and incorporates by reference Paragraphs 1

    through 7 of its Complaint as if fully rewritten herein.




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                9.    The Plaintiff is in possession of the original copy of and is entitled to

    enforce a certain Term Note (the “Note”) in the original principal amount of

    $150,000.00 dated September 29, 2023 and executed by the Borrower and

    originally payable to Velocity Commercial Capital, LLC (the “Original Lender”).

    A copy of the Note with Allonge affixed thereto is attached as Exhibit A.

                10.   The Note is in default as a result of the Borrower’s failure to make

    payments when due. Among other things, the Borrower failed to make the June 1,

    2024 payment.

                11.   As a result of the Borrower’s default, the Plaintiff has accelerated all

    unpaid principal amounts and all accrued and unpaid interest due under the Note.

                12.   All conditions precedent to the Plaintiff’s enforcement of the Note

    have occurred.

                13.   As a result of the above default and acceleration, the Plaintiff is

    presently owed on the Note and the Mortgage (as that term is defined below) from

    the Borrower the following amounts as of September 30, 2024:




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                      Principal                              $149,447.81
                      Regular Interest Accrued               $6,999.15
                      Prepayment Penalty                     $7,472.39
                      Late Charges                           $577.70
                      Returned Payment Charge                $25.00
                      Default Interest                       $2,009.05
                      Foreclosure Fees and Costs             $6,325.00
                      TOTAL as of 9/30/2024                  $172,856.10

    plus regular interest that continues to accrue at the rate of 11.24% per annum, plus

    default interest that continues to accrue at the rate of 4.0% per annum, plus fees

    and advances that continue to accrue, plus the Plaintiff’s attorney fees and costs

    accrued to date, and those which it will continue to accrue thereafter.

                      COUNT TWO – FORECLOSURE OF MORTGAGE

                14.   The Plaintiff restates and incorporates by reference Paragraphs 1

    through 13 of its Complaint as if fully rewritten herein.

                15.   The Plaintiff is the assignee of a Commercial Mortgage, Security

    Agreement and Assignment of Rents and Leases (the “Mortgage”), dated

    September, 2023 and executed by the Borrower to secure repayment of the Note.

    The Mortgage was recorded on October 2, 2023 as Instrument No. 11370884 of the

    Official Records of Milwaukee County, Wisconsin. A copy of the Mortgage is

    attached as Exhibit B.




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                16.   The Original Lender assigned the Mortgage to the Plaintiff by virtue

    of an Assignment of Commercial Mortgage, Security Agreement, Assignment of

    Leases and Rents and Fixture Filing (the “Assignment”) recorded on November

    16, 2023 as Instrument No. 11382029 of the Official Records of Milwaukee

    County, Wisconsin. A copy of said Assignment is attached as Exhibit C.

                17.   The Mortgage constitutes a valid lien upon the real estate and

    improvements commonly known as 5715 West Capitol Drive, Milwaukee,

    Wisconsin 53216 (the “Property”).

                18.   As a consequence of the Borrower’s default as described above, the

    conditions of defeasance contained in the Mortgage have been broken, and the

    Plaintiff is entitled to have the Mortgage foreclosed.

                19.   All conditions precedent to the Plaintiff’s enforcement of the

    Mortgage have occurred.

                20.   The Defendants all may claim an interest in the Property.

                 COUNT THREE – ASSIGNMENT OF LEASES AND RENTS

                21.   The Plaintiff restates and incorporates by reference Paragraphs 1

    through 20 of its Complaint as if fully rewritten herein.




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                22.   To further secure repayment of the Note, and in the same document as

    the Mortgage, the Borrower executed an irrevocable and unconditional assignment

    of the leases and rents of the Property (the “Assignment of Leases”).

                23.   The Assignment of Leases constitutes a present, absolute, and

    unconditional assignment by the Borrower of all rents and revenues of the Property

    (collectively, the “Rents”).

                24.   The Borrower’s license to collect any Rents of the Property has been

    revoked by virtue of the defaults described above.

                25.   The Borrower has not accounted for or turned over any Rents

    collected since default.

                26.   As a consequence of the Borrower’s failure to make principal,

    interest, and other payments when due under the Note, the Plaintiff has revoked the

    license it granted the Borrower in the Assignment of Rents to collect the Rents, and

    the Plaintiff is now entitled to collect and receive all Rents from the Property and

    all Rents that the Borrower has collected since default.

                27.   All conditions precedent to the Plaintiff’s enforcement of the

    Assignment of Leases have occurred.




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       COUNT FOUR – POSSESSION OF COLLATERAL UNDER SECURITY
                            AGREEMENT

                28.   The Plaintiff restates and incorporates by reference Paragraphs 1

    through 27 of its Complaint as if fully rewritten herein.

                29.   To further secure repayment of the Note, and as part of the same

    transaction and in the same document as the Mortgage, the Borrower pledged all

    personal property that is part of the Property that is subject to a security interest

    pursuant to the Uniform Commercial Code (the “Security Interest”).

                30.   The Security Interest constitutes a valid lien on all the personal

    property that is part of the Property that is subject to a security interest pursuant to

    the Uniform Commercial Code (the “Personal Property”).

                31.   As a consequence of the Borrower’s failure to make principal,

    interest, and other payments when due under the Note, the Plaintiff is entitled to

    exercise all its rights under the Security Interest and gain immediate possession of

    all the Personal Property or, in the alternative, have those items included in the

    appraisal of the Property and sold or auctioned off as part of the Property.

                32.   All conditions precedent to the Plaintiff’s enforcement of the Security

    Interest have occurred.




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                      COUNT FIVE – APPOINTMENT OF A RECEIVER

                33.   The Plaintiff restates and incorporates by reference Paragraphs 1

    through 32 of its Complaint as if fully rewritten herein.

                34.   The terms of the Mortgage and Wisconsin law entitle the Plaintiff to

    the appointment of a receiver for the Property upon the default of the Borrower.

                35.   As a consequence of the Borrower’s failure to make principal,

    interest, and other payments when due under the Note, the Borrower is in default

    of the terms of the Mortgage.

                36.   As a result of the above-described defaults, the Plaintiff is entitled to

    the appointment of a receiver over the Property, the Rents, and the Personal

    Property pledged under the Security Interest.

                WHEREFORE, the Plaintiff prays for judgment as follows:

                1.    On Count One, for a judgment against the Borrower for the following

    amounts September 30, 2024:

                      Principal                                 $149,447.81
                      Regular Interest Accrued                  $6,999.15
                      Prepayment Penalty                        $7,472.39
                      Late Charges                              $577.70
                      Returned Payment Charge                   $25.00
                      Default Interest                          $2,009.05
                      Foreclosure Fees and Costs                $6,325.00




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                      TOTAL as of 9/30/2024                    $172,856.10

    plus regular interest that continues to accrue at the rate of 11.24% per annum, plus

    default interest that continues to accrue at the rate of 4.0% per annum, plus fees

    and advances that continue to accrue, plus the Plaintiff’s attorney fees and costs

    accrued to date, and those which it will continue to accrue thereafter;

                2.    On Count Two, that the Mortgage be adjudged a valid lien upon the

    Property; and that said lien be foreclosed; and that the Property be ordered sold;

    and that Plaintiff be paid out of the proceeds of such sale; and for such other relief,

    legal and equitable, as may be proper and necessary; and that all the other

    defendants herein be required to set up their liens or interest in the Property or be

    forever barred from asserting the same;

                3.    On Count Three, for an order that the Plaintiff is entitled to exercise

    all its rights under the Assignment of Leases and further ordering the Borrower to

    turn over all Rents it is holding and which it has collected since the default, and

    that the Plaintiff may receive and collect all Rents from the Property going

    forward;




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                4.    On Count Four, for an order granting the Plaintiff possession of the

    Personal Property or, in the alternative, to include the Personal Property in the

    appraisal of the Property and auctioned off as part of the Property;

                5.    On Count Five, for the appointment of a receiver for the Property, the

    Rents, and the Personal Property pledged under the Security Interest;

                6.    On all Counts, for interest, its costs, attorney fees, and expenses;

                7.    On all Counts, for all other relief to which the Plaintiff is entitled in

    law and in equity.

    Date: October 24, 2024



                                                   Respectfully submitted,

                                                   /s/ Zachary D. Prendergast
                                                   Zachary D. Prendergast
                                                   Attorneys for Plaintiff U.S. Bank Trust
                                                   Company, National Association, as
                                                   Trustee for Velocity Commercial Capital
                                                   Loan Trust 2023-4
                                                   ROBBINS KELLY PATTERSON &
                                                   TUCKER
                                                   312 Elm Street, Suite 2200
                                                   Cincinnati, Ohio 45202
                                                   Phone: (513) 721-3330
                                                   Fax: (513) 721-5001
                                                   E-Mail: frobbins@rkpt.com
                                                   E-Mail: zprendergast@rkpt.com




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 EXHIBIT
 EXHIBIT A
         A
                                                            -^fvelocity
                                                                    \ commercial capital


                                                               Term Note


Loan No.
                                                                                                                       September 29, 2023

$150,000.00

                                                              1. Promise to Pay

For value received, the undersigned, Maria J. Woodruff, an individual, with an address of 4935 N 52nd Street,
                                                                                                                    a
Milwaukee, Wisconsin 53218 (the "Borrower”), promises to pay to the order of Velocity Commercial Capital, LLC,
California Limited Liability Company, with an address of 30699   Russell Ranch  Road, Suite 295, Westlake Village, CA
91362 (together with its successors and assigns, the “Lender”), the principal amount of One hundred fifty thousand
and 00/100 dollars ($150,000.00) on or before October 1, 2053 (the "Maturity Date”), as set forth below, together
with interest from the date hereof on the unpaid principal balance from time to time outstanding until paid in full. The
Borrower shall pay consecutive monthly installments of principal and interest, as follows: $1,455.75 commencing on
                                                                                                                           of
November 1, 2023, and the same amount (except the last installment which shall be the unpaid balance) on the 1st day
                                                                          bear interest thereon at a per annum  rate equal to
each month thereafter. The aggregate principal balance outstanding shall
11.24%.

                                                            2. Amortization Period

The calculation of the payment amount is based on a 360 month amortization period.
                                                  3. Payment Delivery; Interest Accrual Basis
                                                                                                                             in
Principal and interest shall be payable at Lender's main office or at such other place as Lender may designate in writing
                                                                                 without  set-off, deduction or counterclaim  .
immediately available funds in lawful money of the United States of America
                                                                                      (12) thirty  (30) day months except  that
Interest shall be calculated monthly on the basis of a 360-day year based on twelve
                                                                                                                          days
interest due and payable for a period of less than a full month shall be calculated by multiplying the actual number of
elapsed in such period by a daily rate based on said 360-day year.
                                                            4. Prepayment Charge

 This Note may be prepaid in whole or in part upon thirty (30) days prior written notice to Lender. In the event of any
                                                                                                                        by
 prepayment of this Note at any time through October 1 , 2024 (the “Prepayment Charge Expiration Date ”) whether
 voluntary prepayment, acceleration or otherwise, the Borrower shall, at the option of Lender, pay   a  “fixed rate prepayment
                                                                                                                          for
 charge ” equal to the product of (a) the principal amount so prepaid and (b) the percentage set forth in the table below
 any prepayment made during the indicated period. No Prepayment Premium will be due if (a) prior to the Prepayment
                                                                                                                       12
 Charge Expiration Date, a prepayment amount received plus all other prepayment amounts received in the most recent
                                                                                                          or in part after
 months is not greater than 20% of the Principal Amount of the Note, or (b) a prepayment is made in whole
 the Prepayment Charge Expiration Date.

 For all purposes including the accrual of interest, any prepayment received by Lender on any day other than the last
 calendar day of the month shall be deemed to have been received on the last calendar day of the month.
                                            Period                                                        Percentage

                   September 29, 2023 - October 1, 2024                                                        5%

 After the last period indicated in the above table this Note may be prepaid in whole or in part without any prepayment
 charge.




 Note-Commerolal                                                                                                                        10/2020
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                                                                     5. Default
    At the option of Lender, this Note shall become immediately due and payable without notice or demand upon the
    occurrence at any time of any of the following events of default (each, an “Event ofDefault”}'. (1) default of any liability,
    obligation, covenant or undertaking of the Borrower or any guarantor hereof to Lender, hereunder or otherwise, including,
    without limitation, failure to pay in full and when due any installment of principal or interest or default of the Borrower
    or any guarantor hereof under any other loan document delivered by the Borrower or any guarantor, or in connection
    with the loan evidenced by this Note or any other agreement by the Borrower or any guarantor with Lender; (2) failure
    of the Borrower or any guarantor hereof to maintain aggregate collateral security value satisfactory to Lender; (3) default
    of any material liability, obligation or undertaking of the Borrower or any guarantor hereof to any other party; (4) if
    any statement, representation or warranty heretofore, now or hereafter made by the Borrower or any guarantor hereof
    in connection with the loan evidenced by this Note or in any supporting financial statement of the Borrower or any
    guarantor hereof shall be determined by Lender to have been false or misleading in any material respect when made; (5)                  i
    if the Borrower or any guarantor hereof is a corporation, trust, partnership or limited liability company, the liquidation,
    termination or dissolution of any such organization, or the division, merger or consolidation of such organization into
    another entity, or its ceasing to carry on actively its present business or the appointment of a receiver for its property; (6)
    the death of the Borrower or any guarantor hereof and, if the Borrower or any guarantor hereof is a partnership or limited
    liability company, the death of any partner or member; (7) the institution by or against the Borrower or any guarantor
    hereof of any proceedings under the Bankruptcy Code 1 1 USC § 1 0 1 et seq. or any other law in which the Borrower or any
    guarantor hereof is alleged to be insolvent or unable to pay its debts as they mature, or the making by the Borrower or any
    guarantor hereof of an assignment for the benefit of creditors or the granting by the Borrower or any guarantor hereof of
    a trust mortgage for the benefit of creditors; (8) the service upon Lender of a writ in which Lender is named as trustee of
    the Borrower or any guarantor hereof; (9) a judgment or judgments for the payment of money shall be rendered against
    the Borrower or any guarantor hereof, and any such judgment shall remain unsatisfied and in effect for any period of thirty
     (30) consecutive days without a stay of execution; (10) any levy, lien (including mechanics lien) except as permitted under
     any of the other loan documents between Lender and the Borrower, seizure, attachment, execution or similar process shall
    be issued or levied on any of the property of the Borrower or any guarantor hereof; (11) the termination or revocation
     of any guaranty hereof; (12) the occurrence of such a change in the condition or affairs (financial or otherwise) of the
     Borrower or any guarantor hereof; or (13) the occurrence of any other event or circumstance, such that Lender, in its sole
     discretion, deems that it is insecure or that the prospects for timely or full payment or performance of any obligation of the
     Borrower or any guarantor hereof to Lender has been or may be impaired.

                                                           6. How Payments Are Applied

    Notwithstanding the foregoing, any payments received after the occurrence and during the continuance of an Event of
     Default shall be applied in such manner as Lender may determine. The Borrower hereby authorizes Lender to charge any
     deposit account which the Borrower may maintain with Lender for any payment required hereunder without prior notice
     to the Borrower.

                                                      7. Interest Rate Not To Exceed Legal Limit

     If pursuant to the terms of this Note, the Borrower is at any time obligated to pay interest on the principal balance at a rate
     in excess of the maximum interest rate permitted by applicable law for the loan evidenced by this Note, the applicable
     interest rate shall be immediately reduced to such maximum rate and all previous payments in excess of the maximum rate
     shall be deemed to have been payments in reduction of principal and not on account of the interest due hereunder.
                                                          8. Business/Commercial Purpose

     The Borrower represents to Lender that the primary proceeds of this Note will not be used for personal, family
     or household purposes or for the purpose of purchasing or carrying margin stock or margin securities within the
     meaning of Regulations U and X of the Board of Governors of the Federal Reserve System, 12 C.F.R. Parts 221 and
     224. The primary purpose of the Note and the primary proceeds of the Note is for business purposes.

                                                                  9. Lien and Setoff

     The Borrower grants to Lender a continuing lien on and security interest in any and all deposits or other sums at any time
     credited by or due from Lender to the Borrower and any cash, securities, instruments or other property of the Borrower in
     the possession of Lender, whether for safekeeping or otherwise, or in transit to or from Lender (regardless of the reason
     Lender had received the same or whether Lender has conditionally released the same) as security for the full and punctual
     payment and performance of all of the liabilities and obligations of the Borrower to Lender and such deposits and other



     Note-Commercial
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sums may be applied or set off against such liabilities and obligations of the Borrower to Lender at any time, whether
or not such are then due, whether or not demand has been made and whether or not other collateral is then available to
Lender.

                                                                10. Waivers

No delay or omission on the part of Lender in exercising any right hereunder shall operate as a waiver of such right or
of any other right of Lender, nor shall any delay, omission or waiver on any one occasion be deemed a bar to or waiver
of the same or any other right on any future occasion. The Borrower and any other party obligated on account of this
Note by contract, by operation of law or otherwise (the Borrower and each Borrower, if more than one, and each such
other party, an “Obligor”') regardless of the time, order or place of signing, waive presentment, demand, protest, notice of
intent to accelerate, notice of acceleration and all other notices of every kind in connection with the delivery, acceptance,
performance or enforcement of this Note and assent to any extension or postponement of the time of payment or any
other indulgence, to any substitution, exchange or release of collateral, and to the addition or release of any other party or
person primarily or secondarily liable and waive all recourse to suretyship and guarantor defenses generally, including any
defense based on impairment of collateral. To the maximum extent permitted by law, the Borrower waives and terminates
any homestead rights and/or exemptions respecting any premises under the provisions of any applicable homestead laws,
including, without limitation, Section 815.20 of the Wisconsin Statutes.

                           r                               11. Indemnification
                                                                                                                                         i
The Borrower shall indemnify, defend and hold Lender and its directors, officers, employees, agents and attorneys (each
an “Indemnitee ") harmless against any claim brought or threatened against any Indemnitee by the Borrower or by any
other person (as well as from attorneys' reasonable fees and expenses in connection therewith) on account of Lender's
relationship with the Borrower (each of which may be defended, compromised, settled or pursued by Lender with counsel
of Lender's selection, but at the expense of the Borrower), except for any claim arising out of the gross negligence or
willful misconduct of Lender.

                                            12. Costs and Expenses, Default Rate, Late Charge

The Borrower agrees to pay, upon demand, costs of collection of all amounts under this Note including, without
limitation, principal and interest, or in connection with the enforcement of, or realization on, any security for this Note,
 including, without limitation, to the extent permitted by applicable law, reasonable attorneys' fees and expenses. Upon
 the occurrence and during the continuance of an Event of Default, interest shall accrue at a rate per annum equal to the
 aggregate of 4% plus the rate provided for herein. If any payment due under this Note is unpaid for 10 days or more, the
 Borrower shall pay, in addition to any other sums due under this Note (and without limiting Lender's other remedies on
 account thereof), a late charge equal to 5% of such unpaid amount.

                            13. Binding Effect, Joint and Several Liability, Complete Agreement
 This Note shall be binding upon the Borrower and upon its heirs, successors, assigns and legal representatives, and shall
 inure to the benefit of Lender and its successors, endorsees and assigns.

 The liabilities of the Borrower and each Borrower, if more than one, and any Obligor are joint and several; provided,
 however, the release by Lender of the Borrower or any one or more Obligors shall not release any other person obligated
 on account of this Note. Any and all present and future debts of the Borrower to any Obligor are subordinated to the full
 payment and performance of all present and future debts and obligations of the Borrower to Lender. Each reference in this
 Note to the Borrower and each Borrower, if more than one, and Obligor, is to such person individually and also to all such
 persons jointly. No person obligated on account of this Note may seek contribution from any other person also obligated,
 unless and until all liabilities, obligations and indebtedness to Lender of the person from whom contribution is sought
 have been irrevocably satisfied in full. The release or compromise by Lender of any collateral shall not release any person
 obligated on account of this Note.

 The Borrower authorizes Lender to complete this Note if delivered incomplete in any respect. A photographic or other
 reproduction of this Note may be made by Lender, and any such reproduction shall be admissible in evidence with the
 same effect as the original itself in any judicial or administrative proceeding, whether or not the original is in existence.
                                                         14. Further Assurances

 The Borrower will from time to time execute and deliver to Lender such documents, and take or cause to be taken, all
 such other further action, as Lender may request in order to effect and confirm or vest more securely in Lender all rights




  Note-Commercial
                                                                                                                               10/2020
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contemplated by this Note or any other loan documents related thereto (including, without limitation, to correct clerical
errors) or to vest more fully in or assure to Lender the security interest in any collateral securing this Note or to comply
with applicable statute or law.

                                                     15. Governing Law

This Note shall be governed by the laws of the State of Wisconsin.

                                                    16. Section Headings

Section headings are for reference only and are not intended to affect the interpretation of the provisions of this Note.

                                                            17. Notices

Any notices under or pursuant to this Note shall be deemed duly received and effective if delivered in hand to any
officer or agent of the Borrower or Bank, or if mailed by first class, registered, or certified mail, return receipt requested,
addressed to the Borrower or Bank at the address set forth in this Note or as any party may from time to time designate by
written notice to the other party.

                                                  18. Jurisdiction and Venue

The Borrower irrevocably submits to the nonexclusive jurisdiction of any Federal or state court sitting in Wisconsin, over
any suit, action or proceeding arising out of or relating to this Note. The Borrower irrevocably waives, to the fullest extent
it may effectively do so under applicable law, any objection it may now or hereafter have to the laying of the venue of any
such suit, action or proceeding brought in any such court and any claim that the same has been brought in an inconvenient
forum. The Borrower hereby consents to any and all process which may be served in any such suit, action or proceeding,
(i) by mailing a copy thereof by registered and certified mail, postage prepaid, return receipt requested, to the Borrower's,
address shown in the records of Lender or (ii) by serving the same upon the Borrower(s) in any other manner otherwise
permitted by law, and agrees that such service shall in every respect be deemed effective service upon the Borrower.

                                                    19. Waiver of Jury Trial
THE BORROWER AND LENDER EACH HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY,
AND AFTER AN OPPORTUNITY TO CONSULT WITH LEGAL COUNSEL, (A) WAIVES ANY AND
ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING IN CONNECTION WITH
THIS NOTE, ANY OF THE OBLIGATIONS OF THE BORROWER TO LENDER, AND ALL MATTERS
CONTEMPLATED HEREBY AND DOCUMENTS EXECUTED IN CONNECTION HEREWITH AND (B)
AGREES NOT TO SEEK TO CONSOLIDATE ANY SUCH ACTION WITH ANY OTHER ACTION IN WHICH
A JURY TRIAL CAN NOT BE, OR HAS NOT BEEN, WAIVED. THE BORROWER AND LENDER EACH
CERTIFIES THAT NEITHER LENDER NOR ANY OF ITS REPRESENTATIVES, AGENTS OR COUNSEL
HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT LENDER WOULD NOT IN THE EVENT OF
ANY SUCH PROCEEDING SEEK TO ENFORCE THIS WAIVER OF RIGHT TO TRIAL BY JURY.

                                                          SIGNATURES

 Executed under seal as of September 29, 2023.

 Borrower




 Maria J. Woodruff                   (j\J                 Date
                                                      Seal




 Note-Commercial
                                                                                                                               10/2020
                           Case 2:24-cv-01363-JPS
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                                        ALLONGE TO PROMISSORY NOTE


 Allonge to $150,000.00 Promissory Note dated September 29, 2023, executed by Maria J. Woodruff, as Borrower, in favor of Velocity
                                 Commercial Capital, LLC, a California Limited Liability Company, as Lender



PAY TO THE ORDER OF U.S. Bank Trust Company, National Association, as Trustee for Velocity Commercial Capital Loan Trust 2023-4
WITHOUT RECOURSE




Dated as of 01/09/2024


Velocity Commercial Capital, LLC, a California Limited Liability Company




                                   12
Bk


Name: Ariana Beltran


Title: Post-Closing Supervisor

                                                                                                                                     !




                                                                                                                                     i




Loan Number^^^^^^l



                                                                                                                                         f

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EXHIBIT
EXHIBIT B
        B

                                                                                                            DOC # 11370884
                                                                                                                RECORDED
   Name and Return Address:
                                                                                                        10/02/2023 06:11 AM
   Velocity Commercial Capital, LLC
                                                                                                             ISRAEL RAMON
   PO Box 7089                                                                                           REGISTER OF DEEDS
   Westlake Village, CA 91359 - 7089                                                                    Milwaukee County, WI
                                                                                                            AMOUNT:    30.00
   Parcel Number: 2660029000                                                                                TRANSFER FEE:
                                                                                                           FEE EXEMPT #:
                                                                                                         ***This document has been
                                                                                                       electronically recorded and
                                                                                                       returned to the submitter.***

   Commercial Mortgage, Security Agreement and Assignment
   of Leases and Rents




   This COMMERCIAL MORTGAGE, SECURITY AGREEMENT AND ASSIGNMENT OF LEASES AND
   RENTS (this "Mortgage ") is entered into as of September 29, 2023, between Maria J. Woodruff, with
   an address of 4935 N 52nd Street, Milwaukee, Wisconsin 53218 (the "Mortgagor’’) and Velocity
   Commercial Capital, LLC, a California Limited Liability Company, with an address of 30699 Russell
   Ranch Road, Suite 295, Westlake Village, California 91362 (the "Lender”).

   The real property which is the subject matter of this Mortgage has the following address(es): 57 1 5
   West Capitol Drive, Milwaukee, WI 53216-2257 (the "Address(es) ").
                                      1. Mortgage, Obligations and Future Advances
     1 .1 Mortgage. For valuable consideration paid and for other good and valuable consideration, the
           receipt and sufficiency of which are hereby acknowledged, the Mortgagor hereby irrevocably
           and unconditionally mortgages, grants, bargains, transfers, sells, conveys, sets over and assigns
           to Lender and its successors and assigns with POWER Of SALE forever, all of Mortgagor's
      1    right, title and interest in and to the Property described below, to secure the prompt payment
           and performance of the Obligations (as hereinafter defined), including without limitation, all
           amounts due and owing to Lender and all obligations respecting that certain Term Note, dated
           September 29, 2023, by Maria J. Woodruff in favor of Lender in the original principal amount
           of $150,000.00 (the "Note”1, and collectively, along with all other agreements, documents,
           certificates and instruments delivered in connection therewith, the "Loan Documents”), and any
           substitutions, modifications, extensions or amendments to any of the Loan Documents.
     1 .2 Security Interest in Property. As continuing security for the Obligations (as hereafter
          defined) the Mortgagor hereby pledges, assigns and grants to the Lender, and its successors and
          assigns, a security interest in any of the Property (as hereinafter defined) constituting personal
          property or fixtures. This Mortgage is and shall be deemed to be a security agreement and
          financing statement pursuant to the terms of the Uniform Commercial Code of Wisconsin (the
           "Uniform Commercial Code”) as to any and all personal property and fixtures and as to all such
          property the Lender shall have the righto and remedies of a secured party under the Uniform
          Commercial Code in addition to its rights hereunder. This Mortgage constitutes a financing
          statement filed as a fixture filing under Section 9-502(c) of the Uniform Commercial Code
            covering any Property which now is or later may become a fixture.




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1




     1 .3 Collateral Assignment of Leases and Rents. The Mortgagor hereby irrevocably and
          unconditionally assigns to Lender, and its successors and assigns, as collateral security for the
          Obligations all of the Mortgagor's rights and benefits under any and all Leases (as hereinafter
          defined) and any and all rents and other amounts now or hereafter owing with respect to the
          Leases or the use or occupancy of the Property. This collateral assignment shall be absolute and
          effective immediately, but the Mortgagor shall have a license, revocable by Lender, to continue
          to collect rents owing under the Leases until an Event of Default (as hereinafter defined) occurs
          and Lender exercises its rights and remedies to collect such rents as set forth herein.

     1 .4 Conditions to Grant. Lender shall have and hold the above granted Property unto and to
          the use and benefit of Lender, and its successors and assigns, forever; provided, however, the
          conveyances, grants and assignments contained in this Mortgage are upon the express condition
          that, if Mortgagor shall irrevocably pay and perform the Obligations in full, including, without
            limitation, all principal, interest and premium thereon and other charges, if applicable, in
            accordance with the terms and conditions in the Loan Documents (as hereinafter defined) and                       L

            this Mortgage, shall pay and perform all other Obligations as set forth in this Mortgage and shall
            abide by and comply with each and every covenant and condition set forth herein and in the
            Loan Documents, the conveyances, grants and assignments contained in this Mortgage shall be
            appropriately released and discharged.

     1 .5 Property. The term “Property ”, as used in this Mortgage, shall mean that certain parcel of land
          and the fixtures, structures and improvements and all personal property constituting fixtures,
          as that term is defined in the Uniform Commercial Code, now or hereafter thereon located at
          the Address(es), as more particularly described in Exhibit A attached hereto, together with:
          (i) all rights now or hereafter existing, belonging, pertaining or appurtenant thereto; (ii) the
          following categories of assets as defined in the Uniform Commercial Code: goods (including
             inventory, equipment and any accessions thereto), instruments (including promissory notes),
             documents, accounts (including health-care-insurance receivables), chattel paper (whether
             tangible or electronic), deposit accounts, letter-of-credit rights (whether or not the letter of credit
             is evidenced by a writing), securities and all other investment property, general intangibles
             (including payment intangibles and software), supporting obligations and any and all proceeds of
             any thereof, whether now owned or hereafter acquired, that are located on or used in connection
             with, or that arise in whole or in part out of the Mortgagor's use of or business conducted on or
             respecting, the Property and any substitutions, replacements, accessions and proceeds of any of
             the foregoing; (iii) all judgments, awards of damages and settlements hereafter made as a result
             or in lieu of any Taking, as hereinafter defined; (iv) all of the rights and benefits of the Mortgagor
             under any present or future leases and agreements relating to the Property, including, without
             limitation, rents, issues and profits, or the use or occupancy thereof together with any extensions
             and renewals thereof, specifically excluding all duties or obligations of the Mortgagor of any
             kind arising thereunder (the “Leases”)-, and (v) all contracts, permits and licenses respecting the
             use, operation or maintenance of the Property.

      1 .6 Obligations. The term “Obligation(s) ”, as used in this Mortgage, shall mean, without
           limitation, all loans, advances, indebtedness, notes, liabilities and amounts, liquidated or
           unliquidated, now or hereafter owing by the Mortgagor to Lender at any time, of each and
           every kind, nature and description, whether arising under this Mortgage or otherwise, and
           whether secured or unsecured, direct or indirect (that is, whether the same are due directly by the
           Mortgagor to Lender; or are due indirectly by the Mortgagor to Lender as endorser, guarantor or
           other surety, or as obligor of obligations due third persons which have been endorsed or assigned



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      to Lender, or otherwise), absolute or contingent, due or to become due, now existing or hereafter
      contracted, including, without limitation, payment of $150,000.00 of the amounts outstanding
      pursuant to the terms of the Loan Documents as set forth herein. Said term shall also include
      all interest and other charges chargeable to the Mortgagor or due from the Mortgagor to Lender
      from time to time and all advances, costs and expenses referred to in this Mortgage, including
      without limitation the costs and expenses (including reasonable attorney's fees) of enforcement
      of Lender's rights hereunder or pursuant to any document or instrument executed in connection
       herewith.

 1 .7 Cross-Collateral and Future Advances. It is the express intention of the Mortgagor that
       this Mortgage secure payment and performance of all of the Obligations, whether now existing
       or hereinafter incurred by reason of future advances by Lender or otherwise, and regardless of
       whether such Obligations are or were contemplated by the parties at the time of the granting of
       this Mortgage. Notice of the continuing grant of this Mortgage shall not be required to be stated
       on the face of any document evidencing any of the Obligations, nor shall such documents be
       required to otherwise specify that they are secured hereby.

                                    2. Representations, Warranties, Covenants
 2.1 Representations and Warranties. The Mortgagor represents and warrants that:
             (A) This Mortgage has been duly executed and delivered by the Mortgagor and is the legal,
                 valid and binding obligation of the Mortgagor enforceable in accordance with its terms,
                                                                                                                        J
                 except as limited by bankruptcy, insolvency, reorganization, moratorium or other laws
                 affecting the enforcement of creditors' rights generally;
              (B) The Mortgagor is the sole legal owner of the Property, holding good and marketable fee
                  simple title to the Property, subject to no liens, encumbrances, leases, security interests
                  or rights of others, other than as set forth in detail in Exhibit B hereto (the “Permitted
                  Encumbrances ”);
              (C) The Mortgagor is the sole legal owner of the entire lessor's interest in Leases, if any, with
                  full power and authority to encumber the Property in the manner set forth herein, and the
                  Mortgagor has not executed any other assignment of Leases or any of the rights or rents
                    arising thereunder;
              (D) As of the date hereof, there are no Hazardous Substances (as hereinafter defined) in, on
                  or under the Property, except as disclosed in writing to and acknowledged by Lender; and
              (E) Each Obligation is a commercial obligation and does not represent a loan used for
                  personal, family or household purposes and is not a consumer transaction.

 2.2 Recording; Further Assurances. The Mortgagor covenants that it shall, at its sole cost
        and expense and upon the request of Lender, cause this Mortgage, and each amendment,
        modification or supplement hereto, to be recorded and filed in such manner and in such places,
        and shall at all times comply with all such statutes and regulations as may be required by law
        in order to establish, preserve and protect the interest of Lender in the Property and the rights
        of Lender under this Mortgage. Mortgagor will from time to time execute and deliver to Lender
        such documents, and take or cause to be taken, all such other or further action, as Lender may
        request in order to effect and confirm or vest more securely in Lender all rights contemplated
        by this Mortgage (including, without limitation, to correct clerical errors) or to vest more
        fully in, or assure to Lender the security interest in, the Property or to comply with applicable
        statute or law. To the extent permitted by applicable law, Mortgagor authorizes Lender to file




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       financing statements, continuation statements or amendments, and any such financing statements,
       continuation statements or amendments may be filed at any time in any jurisdiction. Lender
       may at any time and from time to time file financing statements, continuation statements and
       amendments thereto that describe the Property as defined in this Mortgage and which contain
       any other information required by Article 9 of the Uniform Commercial Code for the sufficiency
       or filing office acceptance of any financing statement, continuation statement or amendment,
       including whether Mortgagor is an organization, the type of organization and any organization
       identification number issued to Mortgagor; Mortgagor also authorizes Lender to file financing
       statements describing any agricultural liens or other statutory liens held by Lender. Mortgagor
       agrees to furnish any such information to Lender promptly upon request. In addition, Mortgagor
       shall at any time and from time to time, take such steps as Lender may reasonably request for
       Lender (i) to obtain an acknowledgment, in form and substance satisfactory to Lender, of any
       bailee having possession of any of the Property that the bailee holds such Property for Lender,
       and (ii) otherwise to insure the continued perfection and priority of Lender's security interest
       in any of the Property and the preservation of its rights therein. Mortgagor hereby constitutes
       Lender its attorney-in-fact to execute and file all filings required or so requested for the foregoing
       purposes, all acts of such attorney being hereby ratified and confirmed; and such power, being
        coupled with an interest, shall be irrevocable until this Mortgage terminates in accordance with
        its terms, all Obligations are paid in full and the Property is released.

 2.3 Restrictions on the Mortgagor. The Mortgagor covenants that it will not, nor will it permit
     any other person to, directly or indirectly, without the prior written approval of Lender in each                  j
     instance:
              (A) Sell, convey, assign, transfer, mortgage, pledge, hypothecate, lease or dispose of all or
                  any part of any legal or beneficial interest in the Mortgagor or the Property or any part             i

                  thereof or permit any of the foregoing, except as expressly permitted by the terms of this
                    Mortgage;
              (B) Permit the use, generation, treatment, storage, release or disposition of any oil or other
                  material or substance constituting hazardous waste or hazardous materials or substances
                  under any applicable Federal or state law, regulation or rule ( “Hazardous Substances ”);
                    or

              (C) Permit to be created or suffer to exist any mortgage, lien, security interest, attachment
                  or other encumbrance or charge on the Property or any part thereof or interest therein
                  (except for the Permitted Encumbrances), including, without limitation, (i) any lien
                  arising under any Federal, state or local statute, rule, regulation or law pertaining to the
                  release or cleanup of Hazardous Substances and (ii) any mechanics' or materialmen's lien.
                  The Mortgagor further agrees to give Lender prompt written notice of the imposition, or
                  notice, of any lien referred to in this Section and to take any action necessary to secure
                  the prompt discharge or release of the same. The Mortgagor agrees to defend its title to
                  the Property and Lender's interest therein against the claims of all persons and, unless
                  Lender requests otherwise, to appear in and diligently contest, at the Mortgagor's sole
                  cost and expense, any action or proceeding that purports to affect the Mortgagor's title to
                  the Property or the priority or validity of this Mortgage or Lender's interest hereunder.

  2.4 Operation of Property. The Mortgagor covenants and agrees as follows:
              (A) The Mortgagor will not permit the Property to be used for any unlawful or improper
                  purpose, will at all times comply with all Federal, state and local laws, ordinances and
                  regulations, and the provisions of any Lease, easement or other agreement affecting all or



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                                                                                                                            i
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                    any part of the Property, and will obtain and maintain all governmental or other approvals
                    relating to the Mortgagor, the Property or the use thereof, including without limitation,
                    any applicable zoning or building codes or regulations and any laws or regulations
                    relating to the handling, storage, release or cleanup of Hazardous Substances, and will
                    give prompt written notice to Lender of (i) any violation of any such law, ordinance or
                    regulation by the Mortgagor or relating to the Property, (ii) receipt of notice from any
                    Federal, state or local authority alleging any such violation and (iii) the presence or
                    release on the Property of any Hazardous Substances;
              (B) The Mortgagor will at all times keep the Property insured for such losses or damage,
                  in such amounts and by such companies as may be required by law and which Lender
                  may require, provided that, in any case, the Mortgagor shall maintain: (i) physical hazard
                  insurance on an "all risks" basis in an amount not less than 100% of the full replacement
                  cost of the Property; (ii) flood insurance if and as required by applicable Federal law
                    and as otherwise required by Lender; (iii) comprehensive commercial general liability
                    insurance; (iv) rent loss and business interruption insurance; and (v) such other insurance
                    as Lender may require from time to time, including builder's risk insurance in the case of
                    construction loans. All policies regarding such insurance shall be issued by companies
                    licensed to do business in the state where the policy is issued and also in the state where
                    the Property is located, be otherwise acceptable to Lender, provide deductible amounts
                    acceptable to Lender, name Lender as mortgagee, loss payee and additional insured,
                    and provide that no cancellation or material modification of such policies shall occur
                    without at least thirty (30) days prior written notice to Lender. Such policies shall include
                    (i) a mortgage endorsement determined by Lender in good faith to be equivalent to the
                     "standard" mortgage endorsement so that the insurance, as to the interest of Lender, shall            !

                    not be invalidated by any act or neglect of the Mortgagor or the owner of the Property,
                     any foreclosure or other proceedings or notice of sale relating to the Property, any change
                    in the title to or ownership of the Property, or the occupation or use of the Property for             I
                    purposes more hazardous than are permitted at the date of inception of such insurance
                     policies; (ii) a replacement cost endorsement; (iii) an agreed amount endorsement; (iv)
                     a contingent liability from operation endorsement; and (v) such other endorsements as
                     Lender may request. The Mortgagor will furnish to Lender upon request such original
                     policies, certificates of insurance or other evidence of the foregoing as are acceptable to
                     Lender. The terms of all insurance policies shall be such that no coinsurance provisions
                     apply, or if a policy does contain a coinsurance provision, the Mortgagor shall insure the
                     Property in an amount sufficient to prevent the application of the coinsurance provisions;
               (C) Mortgagor will not enter into or modify the Leases in any material respect without the
                   prior written consent of Lender, execute any assignment of the Leases except in favor of
                   Lender, or accept any rentals under any Lease for more than one month in advance and
                   will at all times perform and fulfill every term and condition of the Leases;
               (D) Mortgagor will at all times (i) maintain complete and accurate records and books
                   regarding the Property in accordance with generally accepted accounting principles and
                   (ii) permit Lender and Lender's agents, employees and representatives, at such reasonable
                   times as Lender may request, to enter and inspect the Property and such books and
                     records; and
               (E) Mortgagor will at all times keep the Property in good and first-rate repair and condition
                   (damage from casualty not excepted) and will not commit or permit any strip, waste,
                     impairment, deterioration or alteration of the Property or any part thereof.



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2.5 Payments. The Mortgagor covenants to pay when due: all Federal, state, municipal, real
    property and other taxes, betterment and improvement assessments and other governmental
    levies, water rates, sewer charges, insurance premiums and other charges on the Property, this
    Mortgage or any Obligation secured hereby that could, if unpaid, result in a lien on the Property
    or on any interest therein. If and when requested by Lender, the Mortgagor shall deposit from
    time to time with Lender sums determined by Lender to be sufficient to pay when due the
    amounts referred to in this Section. The Mortgagor shall have the right to contest any notice, lien,
    encumbrance, claim, tax, charge, betterment assessment or premium filed or asserted against
    or relating to the Property; provided that it contests the same diligently and in good faith and
    by proper proceedings and, at Lender's request, provides Lender with adequate cash security, in
    Lender's reasonable judgment, against the enforcement thereof. The Mortgagor shall furnish to
    Lender the receipted real estate tax bills or other evidence of payment of real estate taxes for the
    Property within thirty (30) days prior to the date from which interest or penalty would accrue for
     nonpayment thereof. The Mortgagor shall also furnish to Lender evidence of all other payments
     referred to above within fifteen (15) days after written request therefor by Lender. If Mortgagor
     shall fail to pay such sums, Lender may, but shall not be obligated to, advance such sums. Any
     sums so advanced by Lender shall be added to the Obligations, shall bear interest at the highest
       rate specified in any note evidencing the Obligations, and shall be secured by the lien of this
       Mortgage.                                                                                                          i

 2.6 Notices; Notice of Default. The Mortgagor will deliver to Lender, promptly upon receipt
     of the same, copies of all notices or other documents it receives that affect the Property or its
     use, or claim that the Mortgagor is in default in the performance or observance of any of the
     terms hereof or that the Mortgagor or any tenant is in default of any terms of the Leases. The
       Mortgagor further agrees to deliver to Lender written notice promptly upon the occurrence of
       any Event of Default hereunder or event that with the giving of notice or lapse of time, or both,
       would constitute an Event of Default hereunder.

 2.7 Takings. In case of any condemnation or expropriation for public use of, or any damage by
     reason of the action of any public or governmental entity or authority to, all or any part of the
     Property (a “Taking”'), or the commencement of any proceedings or negotiations that might
        result in a Taking, the Mortgagor shall immediately give written notice to Lender, describing the
        nature and extent thereof. Lender may, at its option, appear in any proceeding for a Taking or
        any negotiations relating to a Taking and the Mortgagor shall immediately give to Lender copies
        of all notices, pleadings, determinations and other papers relating thereto. The Mortgagor shall
        in good faith and with due diligence and by proper proceedings file and prosecute its claims for
        any award or payment on account of any Taking. The Mortgagor shall not settle any such claim
        without Lender's prior written consent. The Mortgagor shall hold any amounts received with
        respect to such awards or claims, by settlement, judicial decree or otherwise, in trust for Lender
        and immediately pay the same to Lender. The Mortgagor authorizes any award or settlement
        due in connection with a Taking to be paid directly to Lender in amounts not exceeding the
        Obligations. Lender may apply such amounts to the Obligations in such order as Lender may
        determine.

  2.8 Insurance Proceeds. The proceeds of any insurance resulting from any loss with respect to
      the Property shall be paid to Lender and, at the option of Lender, be applied to the Obligations
                                                                                                                              L
      in such order as Lender may determine; provided, however, that if Lender shall require repair of




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       the Property, Lender may release all or any portion of such proceeds to the Mortgagor for such
       purpose. Any insurance proceeds paid to the Mortgagor shall be held in trust for Lender and
       promptly paid to it.

                                                 3. Certain Rights of Lender
 3.1 Legal Proceedings. Lender shall have the right, but not the duty, to intervene or otherwise
       participate in any legal or equitable proceeding that, in Lender's reasonable judgment, might
       affect the Property or any of the rights created or secured by this Mortgage. Lender shall have
       such right whether or not there shall have occurred an Event of Default hereunder.

 3.2 Appraisals/Assessments. Lender shall have the right, at the Mortgagor's sole cost and
     expense, to obtain appraisals, environmental site assessments or other inspections of the portions
     of the Property that are real estate at such times as Lender deems necessary or as may be required
     by applicable law, or its prevailing credit or underwriting policies.

 3.3 Financial Statements. Lender shall have the right, at the Mortgagor's sole cost and expense,
     to require delivery of financial statements in form and substance acceptable to Lender from
       the Mortgagor or any guarantor of any of the Obligations and the Mortgagor hereby agrees to
       deliver such financial statements and/or cause any such guarantor to so deliver any such financial
        statement when required by Lender.

 3.4 Leases and Rent Roll. The Mortgagor shall deliver to Lender (i) during each calendar year
     and at such other times as Lender shall request a rent roll for the Property, in form acceptable to
     Lender, listing all tenants and occupants and describing all of the Leases; and (ii) at such times as
     Lender shall request executed copies of all the Leases.

                                                 4. Defaults and Remedies
 4.1 Events of Default. "Event ofDefault” shall mean the occurrence of any one or more of the
        following events:
                                                                                                                             i
              (A) default of any liability, obligation, covenant or undertaking of the Mortgagor or any
                  guarantor of the Obligations to Lender, hereunder or otherwise, including, without
                  limitation, failure to pay in full and when due any installment of principal or interest
                     or default of the Mortgagor or any guarantor of th’e Obligations under any other Loan
                     Document or any other agreement with Lender;
               (B) failure by the Mortgagor or any guarantor of the Obligations to perform, observe or
                   comply with any of the covenants, agreements, terms or conditions set forth in this
                     Mortgage or the Loan Documents;
               (C) the (i) occurrence of any material loss, theft, damage or destruction of, or (ii) issuance
                   or making of any levy, seizure, attachment, execution or similar process on a material
                     portion of the Property;
               (D) failure of the Mortgagor or any guarantor of the Obligations to maintain aggregate
                   collateral security value satisfactory to Lender;
               (E) default of any material liability, obligation or undertaking of the Mortgagor or any
                   guarantor of the Obligations to any other party;
               (F) any statement, representation or warranty heretofore, now or hereafter made by the
                   Mortgagor or any guarantor of the Obligations in connection with this Mortgage or in any




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                   supporting financial statement of the Mortgagor or any guarantor of the Obligations shall
                   be determined by Lender to have been false or misleading in any material respect when
                   made;
             (G) if the Mortgagor or any guarantor of the Obligations is a corporation, trust, partnership
                 or limited liability company, the liquidation, termination or dissolution of any such
                 organization, or the merger or consolidation of such organization into another entity, or
                 its ceasing to carry on actively its present business or the appointment of a receiver for its
                   property;
             (II) the death of the Mortgagor or any guarantor of the Obligations and, if the Mortgagor or
                  any guarantor of the Obligations is a partnership or limited liability company, the death of
                  any partner or member;
               (I) the institution by or against the Mortgagor or any guarantor of the Obligations of any
                   proceedings under the Bankruptcy Code 11 USC §101 et seq. or any other law in which
                   the Mortgagor or any guarantor of the Obligations is alleged to be insolvent or unable
                   to pay its debts as they mature, or the making by the Mortgagor or any guarantor of the
                   Obligations of an assignment for the benefit of creditors or the granting by the Mortgagor
                   or any guarantor of the Obligations of a trust mortgage for the benefit of creditors;
               (J) the service upon Lender of a writ in which Lender is named as trustee of the Mortgagor
                    or any guarantor of the Obligations;
              (K) a judgment or judgments for the payment of money shall be rendered against the
                    Mortgagor or any guarantor of the Obligations, and any such judgment shall remain
                    unsatisfied and in effect for any period of thirty (30) consecutive days without a stay of
                    execution;
              (L) any levy, lien (including mechanics lien), seizure, attachment, execution or similar
                  process shall be issued or levied on any of the property of the Mortgagor or any guarantor
                    of the Obligations;
             (M) the termination or revocation of any guaranty of the Obligations; or
              (N) the occurrence of such a change in the condition or affairs (financial or otherwise) of the
                    Mortgagor or any guarantor of the Obligations, or the occurrence of any other event or
                    circumstance, such that Lender, in its sole discretion, deems that it is insecure or that the
                    prospects for timely or full payment or performance of any obligation of the Mortgagor
                    or any guarantor of the Obligations to Lender has been or may be impaired.

  4.2 Remedies. On the occurrence of any Event of Default Lender may, at any time thereafter, at its
      option and, to the extent permitted by applicable law, without notice, exercise any or all of the
      following remedies:

              (A) Declare the Obligations due and payable, and the Obligations shall thereupon become
                     immediately due and payable, without presentment, protest, demand or notice of any
                     kind, all of which are hereby expressly waived by the Mortgagor except for Obligations
                     due and payable on demand, which shall be due and payable on demand whether or not
                     an Event of Default has occurred hereunder;
               (B) Enter, take possession of, manage and operate the Property (including all personal
                   property and all records and documents pertaining thereto) and any part thereof and
                     exclude the Mortgagor therefrom, take all actions it deems necessary or proper to
                     preserve the Property and operate the Property as a mortgagee in possession with all
                     the powers as could be exercised by a receiver or as otherwise provided herein or by



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                   applicable law; provided, however, the entry by Lender upon the Property for any reason
                   shall not cause Lender to be a mortgagee in possession, except upon the express written
                   declaration of Lender;
             (C) With or without taking possession, receive and collect all rents, income, issues and
                 profits ( "Rents ”) from the Property (including all real estate and personal property and
                   whether past due or thereafter accruing), including as may arise under the Leases, and
                   the Mortgagor appoints Lender as its true and lawful attorney with the power for Lender
                   in its own name and capacity to demand and collect Rents and take any action that the
                   Mortgagor is authorized to take under the Leases. Lender shall (after payment of all costs
                   and expenses incurred) apply any Rents received by it to the Obligations in such order
                   as Lender determines, or in accordance with any applicable statute, and the Mortgagor
                   agrees that exercise of such rights and disposition of such funds shall not be deemed to
                   cure any default or constitute a waiver of any foreclosure once commenced nor preclude
                   the later commencement of foreclosure for breach thereof. Lender shall be liable to
                   account only for such Rents actually received by Lender. Lessees under the Leases are
                   hereby authorized and directed, following notice from Lender, to pay all amounts due the
                   Mortgagor under the Leases to Lender, whereupon such lessees shall be relieved of any
                   and all duty and obligation to the Mortgagor with respect to such payments so made;
             (D) In addition to any other remedies, to sell the Property or any part thereof or interest
                 therein pursuant to exercise of its power of sale or otherwise at public auction on
                 terms and conditions as Lender may determine, or otherwise foreclose this Mortgage
                 in any manner permitted by law, and upon such sale the Mortgagor shall execute and
                 deliver such instruments as Lender may request in order to convey and transfer all of
                 the Mortgagor's interest in the Property, and the same shall operate to divest all rights,
                    title and interest of the Mortgagor in and to the Property. In the event this Mortgage
                    shall include more than one parcel of property or subdivision (each hereinafter called a
                     "Portion ”), Lender shall, in its sole and exclusive discretion and to the extent permitted
                    by applicable law, be empowered to foreclose upon any such Portion without impairing
                    its right to foreclose subsequently upon any other Portion or the entirety of the Property
                    from time to time thereafter. In addition, Lender may in its sole and exclusive discretion
                    subordinate this Mortgage to one or more Leases for the sole purpose of preserving any
                    such Lease in the event of a foreclosure;
              (E) Cause one or more environmental assessments to be taken, arrange for the cleanup of
                  any Hazardous Substances or otherwise cure the Mortgagor's failure to comply with
                  any statute, regulation or ordinance relating to the presence or cleanup of Hazardous
                  Substances, and the Mortgagor shall provide Lender or its agents with access to the
                  Property for such purposes; provided that the exercise of any of such remedies shall
                  not be deemed to have relieved the Mortgagor from any responsibility therefor or given
                  Lender "control" over the Property or cause Lender to be considered to be a mortgagee in
                  possession, "owner" or "operator" of the Property for purposes of any applicable law, rule
                  or regulation pertaining to Hazardous Substances; and
               (F) Take such other actions or proceedings as Lender deems necessary or advisable to protect
                   its interest in the Property and ensure payment and performance of the Obligations,
                   including, without limitation, appointment of a receiver (and the Mortgagor hereby
                   waives any right to object to such appointment) and exercise of any of Lender's remedies




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                       provided herein or in any other document evidencing, securing or relating to any of the
                       Obligations or available to a secured party under the Uniform Commercial Code or under
                       other applicable law.

        Mortgagor agrees to the provisions of Sections 846.101 and 846.103(2) of the Wisconsin
        Statutes, or any successor provision, at Lender's option, permitting Lender, at its option upon
        waiving the right to judgment for deficiency, to hold a foreclosure sale of the Property comprised
        of real estate three (3) months after a foreclosure judgment is entered.

        In addition, the Lender shall have all other remedies provided by applicable law, including,
        without limitation, the right to pursue a judicial sale of the Property or any portion thereof by
        deed, assignment or otherwise.

        The Mortgagor agrees and acknowledges that the acceptance by the Lender of any payments
        from either the Mortgagor or any guarantor after the occurrence of any Event of Default, the
        exercise by the Lender of any remedy set forth herein or the commencement, discontinuance
        or abandonment of foreclosure proceedings against the Property shall not waive the Lender's
        subsequent or concurrent right to foreclose or operate as a bar or estoppel to the exercise of any
        other rights or remedies of the Lender. The Mortgagor agrees and acknowledges that the Lender,
        by making payments or incurring costs described herein, shall be subrogated to any right of
        the Mortgagor to seek reimbursement from any third parties, including, without limitation, any
        predecessor in interest to the Mortgagor's title or other party who may be responsible under any
        law, regulation or ordinance relating to the presence or cleanup of Hazardous Substances.

 4.3 Advances. If the Mortgagor fails to pay or perform any of its obligations respecting the
     Property, Lender may in its sole discretion do so without waiving or releasing Mortgagor from
     any such obligation. Any such payments may include, but are not limited to, payments for taxes,
     assessments and other governmental levies, water rates, insurance premiums, maintenance,
     repairs or improvements constituting part of the Property. Any amounts paid by Lender
        hereunder shall be, until reimbursed by the Mortgagor, part of the Obligations and secured by
        this Mortgage, and shall be due and payable to Lender, on demand, together with interest thereon
        to the extent permitted by applicable law, at the highest rate permitted under any of the notes
         evidencing the Obligations.

  4.4 Cumulative Rights and Remedies. All of the foregoing rights, remedies and options
      (including without limitation the right to enter and take possession of the Property, the right to
         manage and operate the same, and the right to collect Rents, in each case whether by a receiver
         or otherwise) are cumulative and in addition to any rights Lender might otherwise have, whether
         at law or by agreement, and may be exercised separately or concurrently and none of which shall
         be exclusive of any other. The Mortgagor further agrees that Lender may exercise any or all of
         its rights or remedies set forth herein without having to pay the Mortgagor any sums for use or
         occupancy of the Property.

  4.5 Mortgagor's Waiver of Certain Rights. To the extent permitted by applicable law, the
      Mortgagor hereby waives 'the benefit of all present and future laws (i) providing for any appraisal
      before sale of all or any portion of the Property or (ii) in any way extending the time for the
         enforcement of the collection of the Obligations or creating or extending a period of redemption
         from any sale made hereunder.




                                                                                                                         -


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                                                 5. Miscellaneous

5.1 Costs and Expenses. To the extent permitted by applicable law, the Mortgagor shall pay
    to Lender, on demand, all reasonable expenses (including attorneys' fees and expenses and
    reasonable consulting, accounting, appraisal, brokerage and similar professional fees and
    charges) incurred by the Lender in connection with Lender's interpretation, recordation of this
       Mortgage, exercise, preservation or enforcement of any of its rights, remedies and options set
       forth in this Mortgage and in connection with any litigation, proceeding or dispute whether
       arising hereunder or otherwise relating to the Obligations, together with interest thereon to the
        extent permitted by applicable law, until paid in full by the Mortgagor at the highest rate set forth
        in any of the notes evidencing the Obligations. Any amounts owed by the Mortgagor hereunder
        shall be, until paid, part of the Obligations and secured by this Mortgage, and Lender shall be
        entitled, to the extent permitted by law, to receive and retain such amounts in any action for
        a deficiency against or redemption by the Mortgagor, or any accounting for the proceeds of a
        foreclosure sale or of insurance proceeds.

 5.2 Indemnification Regarding Leases. The Mortgagor hereby agrees to defend, and does
     hereby indemnify and hold Lender and each of its directors, officers, employees, agents and
     attorneys (each an “Indemnitee ’’) harmless from all losses, damages, claims, costs or expenses
     (including attorneys' fees and expenses) resulting from the assignment of the Leases and from all
     demands that may be asserted against such Indemnitees arising from any undertakings on the part
     of Lender to perform any obligations under the Leases. It is understood that the assignment of
     the Leases shall not operate to place responsibility for the control or management of the Property
     upon Lender or any Indemnitee or make them liable for performance of any of the obligations of
     the Mortgagor under Leases, respecting any condition of the Property or any other agreement or
     arrangement, written or oral, or applicable law.

 5.3 Indemnification Regarding Hazardous Substances. The Mortgagor hereby agrees to
     defend, and does hereby indemnify and hold harmless each Indemnitee from and against any
     and all losses, damages, claims, costs or expenses, including, without limitation, litigation costs
     and attorneys' fees and expenses and fees or expenses of any environmental engineering or
         cleanup firm incurred by such Indemnitee and arising out of or in connection with the Property or
        resulting from the application of any current or future law, regulation or ordinance relating to the
        presence or cleanup of Hazardous Substances on or affecting the Property. The Mortgagor agrees
        its obligations hereunder shall be continuous and shall survive termination or discharge of this
        Mortgage and/or the repayment of all debts to Lender including repayment of all Obligations.

  5.4 Indemnitee's Expenses. If any Indemnitee is made a party defendant to any litigation or
      any claim is threatened or brought against such Indemnitee concerning this Mortgage or the
      Property or any part thereof or therein or concerning the construction, maintenance, operation or
      the occupancy or use thereof by the Mortgagor or other person or entity, then the Mortgagor shall
      indemnify, defend and hold each Indemnitee harmless from and against all liability by reason
      of said litigation or claims, including attorneys' fees and expenses incurred by such Indemnitee
      in connection with any such litigation or claim, whether or not any such litigation or claim is
      prosecuted to judgment. The within indemnification shall survive payment of the Obligations,
      and/or any termination, release or discharge executed by Lender in favor of the Mortgagor.

  5.5 Waivers. The Mortgagor waives notice of nonpayment, demand, presentment, protest or notice
      of protest of the Obligations and all other notices, consents to any renewals or extensions of
      time of payment thereof, and generally waives any and all suretyship defenses and defenses in



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       the nature thereof. No delay or omission of Lender in exercising or enforcing any of its rights,
       powers, privileges, remedies, immunities or discretion (all of which are hereinafter collectively
       referred to as ‘‘Lender's Rights and Remedies”) hereunder shall constitute a waiver thereof;
       and no waiver by Lender of any default of the Mortgagor hereunder or of any demand shall
       operate as a waiver of any other default hereunder or of any other demand. No term or provision
       hereof shall be waived, altered or modified except with the prior written consent of Lender,
       which consent makes explicit reference to this Mortgage. Except as provided in the preceding
       sentence, no other agreement or transaction, of whatsoever nature, entered into between Lender
       and the Mortgagor at any time (whether before, during or after the effective date or term of
       this Mortgage) shall be construed as a waiver, modification or limitation of any of Lender's
       Rights and Remedies under this Mortgage (nor shall anything in this Mortgage be construed as a
       waiver, modification or limitation of any of Lender's Rights and Remedies under any such other
       agreement or transaction) but all Lender's Rights and Remedies not only under the provisions of
       this Mortgage but also under any such other agreement or transaction shall be cumulative and not
       alternative or exclusive, and may be exercised by Lender at such time or times and in such order
                                                                                                                           r
       of preference as Lender in its sole discretion may determine.

 5.6 Waiver of Homestead. To the maximum extent permitted under applicable law, the Mortgagor
     hereby waives and terminates any homestead rights and/or exemptions respecting the Property
     under the provisions of any applicable homestead laws, including, without limitation, Section
     815.20 of the Wisconsin Statutes.

 5.7 Joint and Several. If there is more than one Mortgagor, each of them shall be jointly and
     severally liable for payment and/or performance of all obligations secured by this Mortgage and
     the term “Mortgagor ” shall include each as well as all of them.

 5.8 Severability. If any provision of this Mortgage or portion of such provision or the application
                                                                                                                           i
     thereof to any person or circumstance shall to any extent be held invalid or unenforceable, the
     remainder of this Mortgage (or the remainder of such provision) and the application thereof to
     other persons or circumstances shall not be affected thereby.

  5.9 Complete Agreement. This Mortgage and the other Loan Documents constitute the entire
      agreement and understanding between and among the parties hereto relating to the subject matter
      hereof, and supersede all prior proposals, negotiations, agreements and understandings among
      the parties hereto with respect to such subject matter.

5.1 0 Binding Effect of Agreement. This Mortgage shall run with the land and be binding upon
      and inure to the benefit of the respective heirs, executors, administrators, legal representatives,
      successors and assigns of the parties hereto, and shall remain in full force and effect (and Lender
      shall be entitled to rely thereon) until all Obligations are fully and indefeasibly paid. Lender
      may transfer and assign this Mortgage and deliver any collateral to the assignee, who shall
      thereupon have all of the rights of Lender; and Lender shall then be relieved and discharged
      of any responsibility or liability with respect to this Mortgage and such collateral. Except as
      expressly provided herein or in the other Loan Documents, nothing, expressed or implied, is
        intended to confer upon any party, other than the parties hereto, any rights, remedies, obligations
        or liabilities under or by reason of this Mortgage or the other Loan Documents.

5.11 Notices. Any notices under or pursuant to this Mortgage shall be deemed duly received and
     effective if delivered in hand to any officer or agent of Mortgagor or Lender, or if mailed by first



                                                                                                                               !_
                                                                                                                               i

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       class, registered, or certified mail, return receipt requested, addressed to Mortgagor or Lender at
       the address set forth in this Mortgage or as any party may from time to time designate by written
       notice to the other party.

5.12 Governing Law. This Mortgage shall be governed by the laws of the State of Wisconsin.

5.13 Reproductions. This Mortgage and all documents which have been or may be hereinafter
     furnished by the Mortgagor to Lender may be reproduced by Lender by any photographic,
     photostatic, microfilm, xerographic or similar process, and any such reproduction shall be
       admissible in evidence as the original itself in any judicial or administrative proceeding (whether
       or not the original is in existence and whether or not such reproduction was made in the regular
       course of business).

5.14 Jurisdiction and Venue. The Mortgagor irrevocably submits to the nonexclusive jurisdiction
     of any Federal or state court sitting in Wisconsin, over any suit, action or proceeding arising out
     of or relating to this Mortgage. The Mortgagor irrevocably waives, to the fullest extent it may
     effectively do so under applicable law, any objection it may now or hereafter have to the laying
       of the venue of any such suit, action or proceeding brought in any such court and any claim
       that the same has been brought in an inconvenient forum. The Mortgagor hereby consents to
       process being served in any such suit, action or proceeding (i) by the mailing of a copy thereof by
       registered or certified mail, postage prepaid, return receipt requested, to the Mortgagor's address
        set forth herein or such other address as has been provided in writing to Lender and (ii) in any
        other manner permitted by law, and agrees that such service shall in every respect be deemed
        effective service upon the Mortgagor.

5. 15 JURY WAIVER.

        MORTGAGOR AND LENDER EACH HEREBY KNOWINGLY, VOLUNTARILY AND
        INTENTIONALLY, AND AFTER AN OPPORTUNITY TO CONSULT WITH LEGAL COUNSEL,
        (a) Waive Any and all Rights To a Trial By Jury In Any Action Or
        PROCEEDING IN CONNECTION WITH THIS MORTGAGE THE OBLIGATIONS, ALL
        MATTERS CONTEMPLATED HEREBY AND DOCUMENTS EXECUTED IN CONNECTION
        HEREWITH AND (B) AGREE NOT TO CONSOLIDATE ANY SUCH ACTION WITH ANY
        Other action In which A jury trial Can Not Be, Or Has Not Been Waived.
        Mortgagor Certifies that neither lender nor Any Of Its Representatives,
        AGENTS OR COUNSEL HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT LENDER
        WOULD NOT IN THE EVENT OF ANY SUCH PROCEEDING SEEK TO ENFORCE THIS
        Waiver Of right To Trial By Jury.

                                                        Signatures
Executed under seal as of September 29, 2023.

Mortgagor




Maria J. Wo6druff
                    (1 I jdcnAj/         l(                         Date
                                                                 Seal




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Acknowledgment

State of Wisconsin c                       .

County of
This instrument was acknowledged before me on                                                        by Maria J.
Woodruff                          n                    (




Nbtary Public


                                                                                                       ,
                                                 e‘ 4er
(Print Name)
                                                                                      ^o/
My commission expires:
This instrument was drafted by

Harrison Jenkins                                                                                     <7
30699 Russell Ranch Rd, Ste. 295
Westlake Village, CA 91362




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                                                      Exhibit "A"
                                                  Property Description

See Legal Description attached hereto and made a part thereof




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                                                            Exhibit "B"

                                                     Permitted Encumbrances
None




                                                                                                                                 ?

                                                 t



                                                                                                                                 I




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Lot 4 and the West 27 feet of Lot 5 in Block 2 in Grasslyn Manor, being a Subdivision of a part of the Northwest 1/4 of Section
11 , in Township 7 North, Range 21 East, in the City of Milwaukee, Milwaukee County, Wisconsin.

For Informational Purposes Only:

Parcel ID#: 266-0029-000
Parcel Address: 5715 W Capitol Dr, Milwaukee, Wl 53216




                                                                                                                                      I

                                                                                                                                      L




                                                                                                     (2023099772.PFD/2023099772/22)




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EXHIBIT
EXHIBIT C
                                                                                                                 DOC # 11382029


        C
                                                                                                                      RECORDED
                                                                                                             11/16/2023 06:10 AM
                                                                                                                   ISRAEL RAMON
                                                                                                               REGISTER OF     DEEDS
      Record and Return To:                                                                                  Milwaukee County,         WI
      Velocity Commercial Capital                                                                                AMOUNT:    30.00
      30699 Russell Ranch Rd Suite 295
                                                                                                                 TRANSFER    FEE:
      Ste 295
                                                                                                                FEE   EXEMPT #:
      Westlake Village, CA 91362                                                                             ***This document has been
                                                                                                            electronically recorded   and
      This instrument was Prepared By:
                                                                                                            returned to the submitter.***
      Velocity Commercial Capital, LLC, a
      California Limited Liability Company
      Velocity Commercial Capital
      30699 Russell Ranch Rd Suite 295
      Ste 295
      Westlake Village, CA 91362
      (818)532-3705

       Loan #:

      ASSIGNMENT OF Commercial Mortgage, Security Agreement and Assignment of Leases
      and Rents

      For good and valuable consideration, the sufficiency of which is hereby acknowledged, Velocity Commercial
      Capital, LLC, a California Limited Liability Company , 30699 Russell Ranch Rd Ste 295, Westlake Village,
      California 91362, by these presents does convey, assign, transfer and set over to: U.S. Bank Trust Company,
      National Association, as Trustee for Velocity Commercial Capital Loan Trust 2023-4
      190 South LaSalle Street, 7th Floor Chicago, IL 60603,, the following described Mortgage, with all interest, all
      liens, and any rights due or to become due thereon.
      Original Mortgagor: Maria J. Woodruff

      Instrument: 11370884 in Milwaukee County, WI
      Property Address: 5715 West Capitol Drive, Milwaukee, WI 53216
      Parcel Tax ID:   2660029000
      Legal: Legal description attached
      Date: 11/15/2023.

      Velocity Commercial Capital, LLC, a California Limited
      Liability Company



      Bv:   7 7
      Name: Jeff Taylor
      Title: EVP, Capital Markets


      A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
      document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

      STATE OF California
                                    } s.s.
      COUNTY OF Los Angeles

      On 11/15/2023, before me, Ariana Beltran, Notary Public, personally appeared Jeff Taylor, who proved to me on
      the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument and
      acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by
      his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
      executed the instrument.
      I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true
      and correct.

      Witness my hand and official seal.                                          AMMAtarMH
                                                                           \ HoUryPuWk-CaWwnU
                                                                                                       1
                                                                           3     lot Anfetet County.   I_
                                                                           V    Commission • MIM**     f
                                                                            My Comm. Expires Ott


      Notary Public: Ariana Beltran
      My Commission Expires: 10/21/2026
      Commission #: 2422488




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Lot 4 and the West 27 feet of Lot 5 in Block 2 in Grasslyn Manor, being a Subdivision of a part of the Northwest 1/4 of Section
11 , in Township 7 North, Range 21 East, in the City of Milwaukee, Milwaukee County, Wisconsin.

For Informational Purposes Only:

Parcel ID#: 266-0029-000
Parcel Address: 5715 W Capitol Dr, Milwaukee, Wl 53216




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                                                                                                     (2023099772.PFD/2023099772/22)




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